






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00674-CV






SSC Wimberley Operating Company, LP; and San Marcos Nursing

and Rehab Center, Inc., Appellants


v.



Texas Department of Aging and Disability Services; Adelaide Horn, 

Individually and in her Official Capacity as Commissioner of The Texas

Department of Aging and Disability Services; and Asista

Corporation, Appellees





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT


NO. D-1-GN-08-002661, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellants SSC Wimberley Operating Company, LP, and San Marcos Nursing and
Rehab Center, Inc.--two nursing homes in Hays County, Texas--sought judicial review of a
decision by appellees the Texas Department of Aging and Disability Services and Adelaide Horn,
individually and in her official capacity as Commissioner of the Department, (1) to grant a
community-needs waiver to appellee Asista Corporation for sixty additional Medicaid beds in
Hays&nbsp;County.  In two issues, appellants argue that the district court erred in granting summary
judgment in favor of the Department because appellants have an inherent right to judicial review of
the Department's action and appellants were entitled to judicial review under the Uniform
Declaratory Judgments Act. 

	This Court has previously considered and rejected appellants' arguments in
SSC&nbsp;Missouri City Operating Co., LP v. Texas Department of Aging and Disability Services,
No.&nbsp;03-09-00299-CV, 2009 WL 475286 (Tex. App.--Austin 2009, pet. denied) (mem. op.).  For the
same reasons stated in SSC Missouri City Operating Co., we affirm the district court's summary
judgment in favor of the Department.  See id.



					__________________________________________

					Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   April 20, 2010

1.        We refer to the Department and the Commissioner collectively as the "Department" unless
otherwise noted.

